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1N THE UNITED sTATEs DISTRICT CoURT HLED BY¥-`Q"-- D-C'

 

FOR THE WESTERN DISTRICT OF TENNESSE§
EASTERN DIVISION y HAY l 0 PH 5= 21»
.'~`.QEEF.§_:': S.' THGL:G
CLi:jJ.t’;`t;?; s S. DEST. CT.
Plaintiff`,
vs. No. 04-1278-T/An
JERRY VASTBINDER, et al.,
Def`endants.

 

ORDER CORRECI;I§II?I)G THE DOCKET
ORDER TO COMPLY WITH PLRA
OR PAY FULL $150 CIVIL FILING FEE

 

Plaintif`f Shaun Bondurant, Tennessee Department of Correction ("TDOC") prisoner
number 3 542_?»26,1 an inmate at the West Tennessee State Penitentiary in Henning, Tennessee,
filed a pr_o g complaint pursuant to 42 U.S.C. § 1983 on October 21, 2004.

Under the Prison Litigation Ref`orrn Act of 1995 ("PLRA"), 28 U. S.C. § 19 15(a)-(b),
all prisoners bringing a civil action must pay the full filing fee of $ 1 50 required by 28 U.S.C.
§ 1914(a).2 rI`he statute merely provides the prisoner the opportunity to make a
"downpayment" of a partial filing fee and pay the remainder in installments. § Mo;§
v. Wrigglesworth, 1 14 F.3d 601 , 604 (6th Cir. 1997) ("[w]hen an inmate seeks pauper status,

the only issue is whether the inmate pays the entire fee at the initiation of the proceeding or

 

1 The docket records the plaintiff"s first name as "Shawn." Although the plaintiff has used both spellings
of his name in the documents he submitted, the TDOC website lists the plaintiffs first name as "Shaun." The Clerk is
ORDERED to correct the docket to conform the spelling of the plaintiffs name to TDOC records.

2 Effective March 7, 2005, the civil filing fee was increased to $250. Because this action Was filed prior to
that date, the plaintiff is only liable for the 3150 filing fee.

Thts document entered on the docketshoot fn compliance
with nme ss and.'or_?s {a) FncP on 05 ‘ '

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over a period of time under an installment plan. Prisoners are no longer entitled to a waiver
of fees and costs.").

In order to take advantage of the installment procedures, a prisoner plaintiff
must properly complete and submit to the district court, along with the complaint, either
Form 4 of the Appendix ofForrns found in the Federal Rules of Appellate Procedure, or an
affidavit that contains the same detailed information found in Form 4. M_B, 114 F.3d at
605. The prisoner must also submit a certified prison trust fund account statement, showing
all activity in his account for the six months preceding the filing of the complaint, and
specifically showing:

1) the average monthly deposits, and

2) the average monthly balance
for the six months prior to submission of the complaint, and

3) the account balance when the complaint was submitted.

In this case, although the plaintiff submitted a certification by the trust fund account
officer at his current prison, he submitted only the first page of the prisoner in m
pa_um affidavit Therefore, at the present time, plaintiff is not eligible to take advantage
of the installment payment procedures of § 1915(b). Plaintiff is, however, liable for the full
$150 filing fee, which accrued at the moment the complaint was filed. Accordingly, plaintiff

is hereby ORDERED to submit an i_n forma pauperis affidavit and a certified copy of his

 

trust fund account statement or the full $150 civil filing fee to the following address within
thirty (30) days after the entry of this order:

Clerk, United States District Court, Westem Distn'ct of Tennessee, 262 U.S.
Courthouse, 111 S. Highland Ave., Jackson, TN 38301

If plaintiff needs additional time to file the required documents, he may request one
thirty-day extension of time from this Court. McGore, 114 F.3d at 605. If plaintiff fails to
file the required documentation, the Court will assess the entire filing fee, without regard to

the installment payment procedures, and will dismiss the action, pursuant to Fed. R. Civ. P.

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41(b), for failure to prosecute Mc_w, 114 F.3d at 605. If dismissed under these
circumstances, the case will not be reinstated despite the subsequent payment of the full
filing fee and regardless of any request for pauper status.

If plaintiff timely submits the proper documentation and the Court finds that plaintiff
is indeed indigent, then he may take advantage of the installment procedures of § 1915(b).
In such case, plaintiff will be able to make an initial partial payment equal to 20% of the
greater of the average monthly deposits to his trust account for the past six months or the
average monthly balance in his account for the past six months. After collection of the initial
partial filing fee, the remaining balance will be collected in monthly installments equal to
20% of the income credited to the plaintiffs account during the preceding months These
monthly payments, however, will be withdrawn only when plaintiff’s account balance
exceeds $10.

The Clerk is ORDERED to provide the plaintiff a copy of the prisoner i_n_ forma

 

pauperis affidavit form along with this order.J/`

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IT IS SO ORDERED this m day of May, 2005.

    

UNIT srATEs DI`srRicr rUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:04-CV-01278 Was distributed by fax, mail, or direct printing on
May ll, 2005 to the parties listed.

 

Shaun Bondurant
00354826

P.O. Box 1 150

Henning, TN 38041--1 15

Honorable J ames Todd
US DISTRICT COURT

